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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Case No. 5:21CR50014-001
                                              )
JOSHUA JAMES DUGGAR                           )

                        UNITED STATES’ SUPPLEMENTAL BRIEF

       Comes now the United States of America, by and through undersigned counsel, and

submits this supplemental briefing on the defendant’s recent assertion of clergy-penitent privilege.

       The parties have filed motions in limine regarding the admissibility of evidence of the

defendant’s child molestation conduct. On November 15, the government advised that it may

introduce this evidence through the testimony of two individuals to whom the defendant admitted

his conduct: Bobye Holt and James Robert Duggar. The Court held a hearing on November 29 to

determine whether their testimony would prove the conduct by a preponderance of the evidence.

Forty-five minutes before the hearing, the defendant raised via email for the first time an issue

“involving a potential issue of clergy privilege invoking Bobye Holt’s potential testimony.”

       When the government sought to elicit testimony from Mrs. Holt regarding the defendant’s

admissions at the hearing, he objected based on the clergy-penitent privilege and cited multiple

cases in support of this new claim. Without having been provided any authority beforehand, the

Court preliminarily overruled the objection and permitted Mrs. Holt to testify. Mrs. Holt then

explained that on March 30, 2003, the Holts joined the defendant and his parents in his parent’s

bedroom, where the defendant told Mrs. Holt that he had inappropriately touched the vagina of

Jane Doe 4 that day and had been touching the breasts and vaginal areas of Jane Does 1 through

3, both over and under their clothes, for years. Mrs. Holt explained that he said he was telling her
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this because he was courting her daughter and that their relationship would have to end as a result

of his conduct. Mrs. Holt also described this discussion as a conversation between close family

friends regarding the defendant’s relationship with her daughter. And while she recalled saying

prayers during the conversation—a normal occurrence, she explained—Mrs. Holt emphasized that

the conversation was not related to anyone’s role in the church that the Holts and Duggars attended.

       Mrs. Holt further testified that in early 2005, the defendant stayed with her and her husband

in Little Rock because, as she explained, they loved him and wanted to see if he could repair his

relationship with their daughter. One evening after her husband fell asleep, Mrs. Holt testified, the

defendant told her that he had digitally penetrated Jane Doe 4’s vagina while she sat on his lap and

he read her bible stories. This rape occurred on March 30, 2003, and is what prompted the Duggars

to contact the Holts that day. The defendant raised the same objection to this testimony, and the

Court instructed the parties to submit briefing on the clergy-penitent privilege.1

       The defendant is asking the Court to adopt an interpretation of the clergy-penitent privilege

that is so unprecedently overbroad as to render it unenforceable. The crux of his claim is that Mrs.

Holt, who firmly disavowed having a position in the church or any privileged relationship with the

defendant, was nevertheless clergy for purposes of the privilege because he confided in her and

they prayed together, or because her husband was an “elder” in that church, or because of some

combination of these factors and other unevidenced inferences. At base, however, Mrs. Holt is not




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  The defendant’s father also testified at the hearing. While he provided garbled answers about the
leadership of his church and repeatedly claimed not to recall whether the defendant admitted to
touching the vaginas of Jane Does 1 through 4 despite recalling other very specific details from
this timeframe, he confirmed that the Holts were his best friends, that the defendant admitted to
inappropriately touching Jane Does 1 through 4, and that he reached out to the Holts as his close
friends in approximately 2002 or 2003 to discuss this issue. He did not testify about the defendant’s
2005 admission. In other words, while he ultimately provided some corroborative information, his
testimony was less credible and far less detailed than Mrs. Holt’s.
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clergy or a church leader. Nor, she said, could she or any women have served as leaders in the

church. She is simply a long-time family friend of the defendant and the mother of the girl he was

dating when he molested Jane Does 1 through 4. And while their lives are shaped by their religion,

the defendant’s conversations with Mrs. Holt about these assaults as they relate to his relationship

with her daughter are no more privileged than a defendant’s discussions about his case with his

lawyer’s well-informed, non-attorney wife—which is to say, they are not privileged at all.

       Federal Rule of Evidence 501 “provides the federal courts with flexibility in crafting

testimonial privileges.” In re Grand Jury Investigation, 918 F.2d 374, 378 (3rd Cir. 1990). While

the Eighth Circuit has not recognized a clergy-penitent privilege, the Supreme Court has described

in dicta a privilege “between priest and penitent” that “recognizes the human need to disclose to a

spiritual counselor, in total and absolute confidence, what are believed to be flawed acts or

thoughts and to receive priestly consolation and guidance in return.” Trammel v. United States,

445 U.S. 40, 51 (1980). Courts place the burden of proving this privilege’s existence and

applicability on the party asserting it. In re Grand Jury Investigation, 918 F.2d at 385, n.15.

“Because claims of privilege derogate from the public's ‘right to every [person's] evidence,’” Cox

v. Miller, 296 F.3d 89, 107 (2d Cir. 2002), courts strictly limit the privilege to (1) “communications

to a member of the clergy,” (2) “in his or her spiritual or professional capacity,” (3) “by persons

who seek spiritual counseling and who reasonably expect that their words will be kept in

confidence.” Id. at 377. And even if a party proves its existence, the privilege is still defeated by

the presence of unnecessary third parties. Id.

       Assuming arguendo that the Eighth Circuit has adopted the clergy-penitent privilege, the

defendant has not met his burden of proving it exists here. The clergy member he identified—Mrs.

Holt—is not clergy at all. She repeatedly said so under oath and explained why she could not have



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been. She also explained that the defendant admitted his prior molestation in conversations with

her as a family friend and not, as he now suggests based on the testimony of someone who was

not present for one admission and who cannot recall the basic details of the other admission, in

conversations with her as a spiritual leader. The defendant has also failed to adduce any credible

evidence that he actually received “priestly consolation and guidance” from Mrs. Holt or that he

expected her not to reveal what he said. In fact, given that his admissions were related to his

relationship with her daughter, the defendant surely expected Mrs. Holt to tell her daughter what

he said. The only evidence he has presented in response to Mrs. Holt’s clear recollection of what

he told her and why came from his father, who provided self-serving testimony about his selective

recollection of what happened and inconsistent testimony about Mrs. Holt’s role in his church that

was often tailored to support this last-ditch effort to exclude this evidence. The Court should credit

Mrs. Holt’s reliable testimony here and overrule the defendant’s objection. See Magar v. State,

308 Ark. 380, 382 (1992) (crediting reverend’s description of conversation as not related to

counseling in declining to apply Arkansas Rule of Evidence 505 on privileged clergy

communications); Bonds v. State, 310 Ark. 541, 545 (1992) (same).

       To the extent the defendant is asserting this privilege based on Mr. Holt’s presence in 2003,

he has likewise failed to satisfy his burden.2 He has not presented sufficient evidence to show that

Mr. Holt was clergy for purposes of the privilege. While his father testified that Mr. Holt was an

elder, he also said that Mr. Holt was not the pastor, that he had a full-time job outside the church,

and that a third elder was more akin to the church leader. And even assuming that Mr. Holt’s status




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  Mrs. Holt’s unrebutted testimony is that Mr. Holt was asleep when the defendant told her in 2005
that he digitally penetrated Jane Doe 4 and that he said this in the context of a conversation between
close family friends. The defendant has presented only speculative argument to undermine this
claim and his assertion of the privilege with respect to this admission should therefore fail.
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qualified him as clergy for purposes of the privilege, Mrs. Holt—the witness with the most

complete recollection—testified that the 2003 conversation was not part of any church service.

And finally, even assuming that Mr. Holt qualifies as clergy, and even assuming that the 2003

admission was somehow aimed only at Mr. Holt in his clerical capacity, the privilege is still

defeated by Mrs. Holt’s presence. She was not an elder, did not assist her husband in his duties as

an elder, and was not necessary for the defendant to have a privileged conversation with her

husband. The defendant has not offered any evidence as to what he believed about Mrs. Holt’s

involvement. And while his father attempted to foist the elder title on her, he had gaping holes in

his recollection and ultimately admitted that there were only three elders, none of which were Mrs.

Holt. The defendant could have attempted to meet his burden by calling Mr. Holt to clarify his and

his wife’s role in the church or by testifying himself as to what happened in 2003 and 2005, but he

chose not to pursue either option. Based on the clear testimony of Mrs. Holt, much of which was

corroborated by the defendant’s father, the defendant’s objection should be overruled.

       Finally, even if the defendant was able to force the clergy-penitent privilege upon Mrs.

Holt, he has since waived that privilege. Generally, the voluntary disclosure of privileged

communications constitutes a waiver of the privilege. United States v. Workman, 138 F.3d 1261,

1263 (8th Cir. 1998). And here, the defendant and his father have publicly acknowledged the

details of their conversation with the Holts in press releases, other court cases, and, in the case of

the defendant’s father, a televised interview in which he discussed seeking the help of his friends—

the Holts—to address the defendant’s inappropriate touching of minors. Any claim from the

defendant now that he thought his admissions to Mrs. Holt were privileged has been vitiated by

his and his family’s face-saving press tour. For these reasons, the defendant’s objection to Mrs.

Holt’s testimony based on clergy-penitent privilege should be denied.



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                                                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I, Dustin Roberts, Assistant United States Attorney, hereby certify that a true and correct
copy of the foregoing pleading was electronically filed with the Clerk of Court using the CM/ECF
System which will send notification of such filing to the following:

Justin Gelfand, Travis Story, Gregory Payne, Ian Murphy, Attorneys for the Defendant

                                                     /s/ Dustin Roberts
                                                     Assistant United States Attorney


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